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           EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 STEW ART ABRAMSON, individually and
 on behalf of all others similarly situated,

                    Plaintiff,

        v.                                            Civil Action No. 2:18-00479

 OASIS POWER, LLC d/b/a OASIS
 ENERGY,

                    Defendant.



                  DECLARATION OF HECTOR LAY A IN SUPPORT OF
                     OASIS POWER, LLC'S MOTION TO DISMISS


I, Hector Laya, hereby declare as follows:

       1.      I am over the age of eighteen and competent to make this declaration. I have

personal knowledge of each of the matters set forth below, and if called as a witness, I could and

would testify to each of them under oath.

       2.      I have been employed by Spark Energy, Inc. since August 31, 2016 as the

company's Director of Telesales. In my role at Spark Energy, Inc., I am responsible for

marketing at Oasis Power, LLC d/b/a Oasis Energy ("Oasis Energy").

       3.      I am familiar with Oasis Energy's policies and practices concerning marketing its

products and services to potential customers. I am also familiar with Oasis Energy's business

records, including records of Oasis Energy's marketing communications.

       4.      I have reviewed the Complaint in this case, including the allegations that "[o]n

March 13 and 17,2018, Mr. Abramson Stewart Abramson received an automated telemarketing

call on his cellular telephone number" and "the call was made using an automatic telephone

dialing system." Compl. ~~ 25,29.
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        5.      Based on my review of Oasis Energy's business records regarding the calls

referenced in the Complaint, I have determined that the alleged calls were not made using an

automatic telephone dialing system.

        6.      In the March 13,2018 call referenced in Paragraph 25 of the Complaint, a

transcript of which is attached here as "Exhibit 1," Oasis Energy's vendor, Pro-Tel Marketing

("Pro-Tel") returned a call Mr. Abramson had made to Pro-Tel to confirm an energy efficiency

survey appointment for the following day. See Exhibit 1 ("Hi Mr. Abramson ... sorry I missed

your call earlier").

        7.      Based on my review of the transcript and understanding of the vendor's

operations, this return call placed to Mr. Abramson on March 13,2018 was not made with an

automated telephone dialing system.

        8.      During that call, the vendor asked if Mr. Abramson agreed to be transferred to an

Oasis Energy agent to hear about lower costs on his electricity bills and Mr. Abramson agreed to

be transferred. See Exhibit 1 ("May I go ahead and transfer you to the energy consultants so you

can learn more about this opportunity." "Yes.").

        9.       Immediately thereafter, the vendor transferred Mr. Abramson to an Oasis Energy

agent who confirmed that he wanted to enroll in electric services provided by Oasis Energy.

        1O.     After Mr. Abramson agreed to purchase electricity services from Oasis Energy,

the agent connected him with a third party to complete the required third-party verification

("TPV") process. A true and correct copy of the transcript of the transfer and TPV process is

attached as Exhibit 2.




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        11.     The TPV agent informed Mr. Abramson that the call would be recorded and asked

that Mr. Abramson verify his phone number, address, and energy agreement identification

number, which Mr. Abramson verified.

        ]2.     The TPV agent then asked if Oasis Energy had Mr. Abramson's "consent to

contact and communicate with [Mr. Abramson] at [his] contact infonnation included in this

enrollment. "

        13.     Mr. Abramson replied, "I'm not sure what you mean," and the agent again asked

if she had his consent to "contact and communicate with you at your contact information that's

included in this enrollment." Mr. Abramson responded, "sure," and when the agent asked to

clarify whether his answer was yes or no, he responded, "yes."

        14.     Oasis Energy has no record of the March 17,2018 call referenced in Paragraph 27

of the Complaint. However, based on my knowledge of Oasis Energy's business practices, any

follow-up call intended to confirm Mr. Abramson's purchase and transfer from his prior

electricity provider would be been manually dialed. It would not have been made with an

automatic telephone dialing system.

        15.     A true and correct copy of the welcome letter from Oasis Energy confirming Mr.

Abramson's purchase of electricity from the company is attached as Exhibit 3.

        16.     Records from Oasis Energy show that Mr. Abramson promptly terminated his

electrical service, effective March 22, 2018.


       I declare under penalty of petjury that the foregoing is true and correct to the best of my

knowledge.
                          /'f"0-
       Executed this2s'      day of May 2018, in Houston, Texas.




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            EXHIBIT 1
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               Speaker                                Narrative
Anna                              Hi Mr. Abramson
Mr. Abramson                      Yeah
Anna                              This is Anna, sorry I missed your call earlier
Mr. Abramson                      Okay
Anna                              I see here that your in-house energy deficient
                                  assessments on your units are scheduled for
                                  tomorrow, Wednesday at 2:30 PM. Is that still
                                  going to be a good time for you?
Mr. Abramson                      Un Hun
Anna                              Great – remember this is at no cost to you and it
                                  will to determine the efficiency of your HVAC
                                  unit.
Mr. Abramson                      Okay
Anna                              Just to reconfirm your address is
                                                                                  .
Mr. Abramson                      No, its
Anna                              And this is where you would want the assessment
                                  to be done correct?
Mr. Abramson                      Un Hun yeah
Anna                              Great, the technician usually calls one hour before
                                  the appointment time. So please expect a call.
Mr. Abramson                      Okay
Anna                              And should you need to reschedule for any reason
                                  at all, please contact us okay.
Mr. Abramson                      Okay
Anna                              Mr. Abramson thank you for your call today I am
                                  seeing here that we are able to offer you an
                                  exclusive promotion on your gas and electric
                                  utilities that will provide you with a prize
                                  protection against potential rate increases on the
                                  supply portion of your electric and gas bills. You
                                  are the authorized person to make decisions on
                                  your gas and electric bill correct?
Mr. Abramson                      Yep
Anna                              Okay great. may I go ahead and transfer you to the
                                  energy consultants so you can learn more about
                                  this opportunity.
Mr. Abramson                      Yes
Anna                              Great – in the event that we get disconnected do I
                                  have your permission to call you back on your
                                  telephone number 412-362-
Mr. Abramson                      Yeah
Anna                              Great. So please hold while I transfer you.
Mr. Abramson                      Okay
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               Speaker                                  Narrative
Mira                                  Hello this is Mira with [INAUDIBLE] what is
                                      your 10 digit [INAUDIBLE] agent ID?
Agent                                 6245917505
Mira                                  And that’s 6245917505 under [INAUDIBLE]
Agent                                 Yes
Mira                                  May I have the [INAUDIBLE] locator
Agent                                 Alpha 472658
Mira                                  That’s alpha 472658
Agent                                 Yeah
Mira                                  Thank you. Would I be speaking with Stewart
                                      Abramson
Agent                                 Yeah
Mira                                  Ok thank you I’m ready to verify.
Mr. Abramson                          Hello
Mira                                  Hello this is Mira I’ll be verifying your services
                                      with the Oasis Energy. Today is March 13, 2018
                                      the time is 1:39 PM eastern. For your protection
                                      this call is being recorded. Do you understand?
Mr. Abramson                          Yes – I’m sorry you said your name is what?
Mira                                  Mira
Mr. Abramson                          ok
Mira                                  Thank you please answer all questions with a
                                      clear year or no. I have your name as Stewart
                                      Abramson – please state the name that appears
                                      on the Duquesne Light bill?
Mr. Abramson                          Stewart Abramson
Mira                                  Your verbal acceptance of Oasis Energy offers
                                      an agreement to initiate service and begin
                                      enrollment. Are you over the age of 18?
Mr. Abramson                          Yes
Mira                                  Are you the person authorized to enroll this
                                      account with Oasis Energy?
Mr. Abramson                          Yes
Mira                                  Are you currently a Chap customer?
Mr. Abramson                          No
Mira                                  I show the phone number 412-362-           is this
                                      correct?
Mr. Abramson                          Un Hun
Mira                                  I’m sorry was that correct
Mr. Abramson                          Yes
Mira                                  Thank you. I show an electric account with a
                                      service address of
                                                              is this correct?
Mr. Abramson                          Yes
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Mira                                  And Electric Supply your agreement ID of
                                      8214550305 is this correct?
Mr. Abramson                          Yes
Mira                                  I show your billing address to be the same as
                                      your service address; does Oasis Energy and its
                                      affiliates have your consent to contact and
                                      communicate with at your contact information
                                      included in this enrollment?
Mr. Abramson                          I’m not sure what you mean
Mira                                  I’m sorry do I have your consent?
Mr. Abramson                          My consent to do what?
Mira                                  To contact and communicate with you at your
                                      contact information that’s included in this
                                      enrollment?
Mr. Abramson                          Sure
Mira                                  Okay, I’m sorry for the recording would that be
                                      a yes or a no?
Mr. Abramson                          Yes
Mira                                  Thank you. By providing your electric today, do
                                      you agree to authorize Oasis Energy to notify
                                      Duquesne Light of your selection by the end of
                                      the next business day and confirm your usage
                                      history with Oasis Energy for enrollment
                                      purposes?
Mr. Abramson                          Yes
Mira                                  You are enrolling in a twelve month fix rate plan
                                      and will be charged 10.99 cent circular one hour.
                                      On your Duquesne Light bill Oasis Energy will
                                      be noted as your electric supplier. Do you
                                      understand?
Mr. Abramson                          Yes
Mira                                  You will receive Oasis Energy terms of service
                                      by mail reconfirming everything we discussed
                                      here today. You will have three business days
                                      from your receipt of these terms and conditions
                                      to rescind your enrollment by calling Oasis
                                      Energy at 1-800-324-3046 and go back to
                                      Duquesne Light for service. If you choose to
                                      cancel later, there is a no early termination fee so
                                      you may cancel free of charge. Do you
                                      understand your right to cancel?
Mr. Abramson                          I have three days from when I get written notice
                                      from Oasis Energy to call 800-324-3046 and
                                      cancel for no charge.
Mira                                  Yes, that the number you may call to cancel and
                                      if you choose to cancel later, there is no early

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                                      termination fee so you may cancel free of
                                      charge.
Mr. Abramson                          Okay – yeah.
Mira                                  Okay. Thank you by choosing Oasis Energy as
                                      your supplier you will remain a customer of
                                      Duquesne light for delivery services and
                                      Duquesne light will still read your meter, bill
                                      you and should be contacted in case of an
                                      emergency. The electric service you have
                                      elected to switch to is governed by our written
                                      terms of service which you will receive at the
                                      mailing address you have provided to us. In
                                      switching to the Oasis Energy Service, you agree
                                      to comply with the terms of service and its
                                      outlined terms, conditions, and responsibilities.
Mr. Abramson                          Well I don’t know what they are cause I haven’t
                                      received them yet.
Mira                                  Okay – okay then I’m sorry if you are not able to
                                      verify this information I can’t continue the
                                      verification at this time.
Mr. Abramson                          Okay, therefore I agree with the signs of the
                                      agreement that I [INAUDIBLE]
Mira                                  Okay, because the information that I would have
                                      to confirm is that in switching to the Oasis
                                      Energy Service do you agree to comply with the
                                      terms of service and its outlined terms,
                                      conditions, and responsibilities.
Mr. Abramson                          Yes
Mire                                  Okay – so do you have any questions you can
                                      contact our customer service department through
                                      the contact information that will be listed in the
                                      terms of service. You understand that Oasis
                                      Energy is not Duquesne Light or an affiliate of
                                      Duquesne Light but a participating supplier and
                                      the customer choice program correct.
Mr. Abramson                          Yes
Mira                                  Thank you for choosing Oasis Energy Mr.
                                      Abramson your verification number is 472658.
                                      Again that was 472658. Thank you for your
                                      time and you have a great day.
Mr. Abramson                          Thank you
Mira                                  Thank you – bye.




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            EXHIBIT 3
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